                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 NORTHERN DIVISION

MICHAEL EDWARD BROOKS                          )
              Plaintiff,                       )
                                               )
v.                                             )      JUDGMENT
                                               )
                                               )      No: 2:19-CV-24-FL
                                               )
ANDREW SAUL,                                   )
Commissioner of Social Security,               )
                     Defendant.                )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the parties’ cross-motions for judgment on the pleadings and the memorandum and
recommendation of the United States Magistrate Judge, to which objection was not filed.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
January 12, 2021, and for the reasons set forth more specifically therein, that plaintiff’s motion for
judgment on the pleadings is granted and defendant’s motion for judgment on the pleadings is
denied. This matter is remanded to defendant pursuant to sentence four of 42 U.S.C. § 405(g) for
further proceedings.

This Judgment Filed and Entered on January 12, 2021, and Copies To:
Jonathan Blair Biser (via CM/ECF Notice of Electronic Filing)
Mark J. Goldenberg (via CM/ECF Notice of Electronic Filing)


January 12, 2021                               PETER A. MOORE, JR. CLERK

                                                 /s/ Sandra K. Collins
                                               (By) Sandra K. Collins, Deputy Clerk




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